Case 3:16-cv-00463-BEN-JMA Document 109-2 Filed 02/13/18 PageID.10627 Page 1 of 9




                           Exhibit 89
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 1 of 8 Page 2 of 9
                                                                                                                                       PageID.10628



                                                                             1
                                                                             2
                                                                             3                                                                       *E-FILED 1/24/06*
                                                                             4
                                                                             5
                                                                             6
                                                                             7
                                                                             8
                                                                             9
                                                                            10                                IN THE UNITED STATES DISTRICT COURT
                                                                            11
United States District Court




                                                                                                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                            12
                               For the Northern District of California




                                                                                                                        SAN JOSE DIVISION
                                                                            13
                                                                                  DIGITAL ENVOY, INC.,                                         NO. 5:04-cv-1497 RS
                                                                            14
                                                                                                 Plaintiff,                                    ORDER CLARIFYING AND
                                                                                                                                               EXPANDING SCOPE OF ORDER
                                                                            15      v.                                                         GRANTING GOOGLE'S
                                                                                                                                               MOTION FOR SUMMARY
                                                                            16    GOOGLE, INC.,                                                JUDGMENT REGARDING
                                                                                                                                               DAMAGES
                                                                            17                   Defendant.
                                                                                                                               /
                                                                            18
                                                                            19                                         I. INTRODUCTION
                                                                            20           Defendant Google, Inc. ("Google") seeks clarification and expansion of the order issued on
                                                                            21   November 8, 2005, in which the Court granted Google's motion for partial summary judgment.
                                                                            22   There, the Court found that the License Agreement between the parties precluded the recovery of
                                                                            23   contract damages absent a showing of willful misconduct, which plaintiff Digital Envoy, Inc.
                                                                            24   ("Digital") failed to present. That order did not reach the issue of whether that same License
                                                                            25   Agreement provision applied to Digital's claim for unjust enrichment under California law arising
                                                                            26   out of Google's alleged misappropriation of Digital's trade secrets. Owing to ambiguity in the precise
                                                                            27   relief Google requested by its initial motion, the Court granted Google's request for reconsideration,
                                                                            28   permitted supplemental briefing, conducted a hearing on that isolated issue on January 12, 2006, and



                                                                                                                        Exhibit 89
                                                                                                                         Page 1
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 2 of 8 Page 3 of 9
                                                                                                                                       PageID.10629



                                                                             1   now concludes that Google's motion must be granted; in particular, that Digital is not entitled to
                                                                             2   equitable relief on its claim for misappropriation of trade secrets, absent a showing of Google's
                                                                             3   willful misconduct. In light of this Court's prior finding that evidence of willful misconduct on
                                                                             4   Google's part had not been presented, Google is now entitled to summary judgment in its favor
                                                                             5   precluding Digital, as a matter of law, from recovering any damages, based either upon unjust
                                                                             6   enrichment or other theory, flowing from Google's alleged misappropriation of Digital's proprietary
                                                                             7   technology.1
                                                                             8                                         II. THE PARTIES' CONTENTIONS
                                                                             9            As noted in the November 8, 2005 order, Google focuses on Section 8 of the License
                                                                            10   Agreement at issue, entitled "Warranties; Limitations; Disclaimer," providing in relevant part that
                                                                            11   "NEITHER PARTY UNDERTAKES OR ACCEPTS ANY LIABILITY WHATSOEVER TO THE
United States District Court




                                                                            12   OTHER FOR ERRORS, OMISSIONS, DELAYS, INTERRUPTIONS, OR LOSSES UNLESS
                               For the Northern District of California




                                                                            13   CAUSED BY THEIR WILLFUL MISCONDUCT." See Declaration of David Kramer, submitted in
                                                                            14   support of motion for partial summary judgment, Exh. B, Section 8. Since Digital claims a "loss" in
                                                                            15   this case, measured by any unjust enrichment gained by Google when it allegedly utilized Digital's
                                                                            16   geo-location technology in an unauthorized manner, Google argues that Digital may only recover if
                                                                            17   it establishes that such loss occurred as a result of willful misconduct committed by Google. It notes,
                                                                            18   further, that in the prior order, the Court found no evidence that Google had engaged in willful
                                                                            19   misconduct, defined as a positive intent actually to harm another or to do an act with a positive,
                                                                            20   active, and absolute disregard of its consequences, Dazo v. Globe Airport Security Services, 295
                                                                            21   F.3d 934, 941 (9th Cir. 2002), and that therefore Digital is precluded from any recovery, however
                                                                            22   characterized, on its trade secrets claim.
                                                                            23            Digital responds that Section 8 does not apply to its claim for misappropriation of trade
                                                                            24   secrets since the parties intended, according to Digital, that such Section would only limit a claim
                                                                            25   for breach of contract. Digital also argues that Google's interpretation of Section 8 renders it invalid
                                                                            26
                                                                                          1
                                                                                             The factual background of the parties' dispute has been set forth in some detail in prior orders in this case and will
                                                                            27   not, therefore, be reiterated here.

                                                                            28                                                                   2



                                                                                                                                  Exhibit 89
                                                                                                                                   Page 2
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 3 of 8 Page 4 of 9
                                                                                                                                       PageID.10630



                                                                             1   as a matter of law or, alternatively, that the Section is invalid under Cal. Civ. Code § 1668,
                                                                             2   providing that any contract exempting anyone from responsibility for his own fraud or a violation of
                                                                             3   the law is against public policy.
                                                                             4                                          III. DISCUSSION
                                                                             5          A.      Application of Section 8 to the Trade Secret Misappropriation Claim
                                                                             6          1.      Meaning of the term "Loss"
                                                                             7          Interpretation of a contract is an issue of law if: (1) the contract is not ambiguous, or (2) the
                                                                             8   contract is ambiguous but no parol evidence is admitted or the parol evidence is not in conflict.
                                                                             9   Walter E. Heller Western, Inc. v. Tecrim Corp., 196 Cal.App.3d 149, 158 (1987). In this instance, as
                                                                            10   the Court noted in its prior order, neither Section 8 of the parties' Agreement nor the term "loss" is
                                                                            11   ambiguous. Moreover, contrary to Digital's proffered interpretation, courts have noted that the words
United States District Court




                                                                            12   "loss" and "damage" have been considered virtually synonymous, both referring to that which is
                               For the Northern District of California




                                                                            13   necessary to make the plaintiff whole. See e.g., Nordahl v. Franzalia, 48 Cal.App.3d 657, 664
                                                                            14   (1975); Wilbur v. United States, 30 F.2d 871, 872 (1929). Similarly, the Ninth Circuit has indicated
                                                                            15   that the proper measure of damages due to the misappropriation of trade secrets is no longer limited
                                                                            16   to either plaintiff's loss or defendant's benefit, but includes a combination of both in order to make
                                                                            17   the plaintiff whole. Clark v. Bunker, 453 F.2d 1006, 1011 (9th Cir. 1972). As a result, even
                                                                            18   assuming Digital had submitted parol evidence which suggested that the word "loss" is ambiguous,
                                                                            19   which it did not, it appears that the legal distinction between the terms "loss" and "damage" is
                                                                            20   blurred, at least in the context of recovery based on the misappropriation of trade secrets.
                                                                            21          Further, from a practical perspective, it would undercut the purpose of Section 8 if it were to
                                                                            22   be interpreted as limiting liability only for those losses resulting from breach of the contract, for at
                                                                            23   least two reasons. First, an injured party could always refrain from filing a breach of contract claim
                                                                            24   and simply re-label the action as one for misappropriation of trade secrets, thereby avoiding
                                                                            25   application of the limitations set forth in Section 8 entirely. Second, the inclusion of the term
                                                                            26   "willful misconduct" would have been unnecessary if only contract claims were at issue since
                                                                            27
                                                                            28                                                        3



                                                                                                                         Exhibit 89
                                                                                                                          Page 3
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 4 of 8 Page 5 of 9
                                                                                                                                       PageID.10631



                                                                             1   "wilfulness" is not an essential element of such a claim.2 That term applies principally in the context
                                                                             2   of tort claims. See e.g., Drum v. Bleau, Fox & Associates, 107 Cal.App.4th 1009, 1011 (2003) (tort
                                                                             3   of abuse of process requires a willful act in use of process); Foley v. Interactive Data Corp., 47
                                                                             4   Cal.3d 654, 712, fn. 9 (1988) (tort law is rife with subjective elements such as willful misconduct).
                                                                             5             2.      Plain Language of the Agreement is Unambiguous
                                                                             6             The plain language of Section 8 similarly supports the interpretation discussed above. As the
                                                                             7   Court noted in its prior order, Section 8 contains no limiting language suggesting that the parties
                                                                             8   intended it to apply solely to breach of contract claims. A review of the entire Section illustrates this
                                                                             9   point.3
                                                                            10             The term "loss" first appears in the second sentence of Section 8, which reads, "It is mutually
                                                                            11   acknowledged that data entry, communication and storage are subject to a possibility of human and
United States District Court




                                                                            12   machine errors, omissions, delays, and losses, including inadvertent loss of data or damage to media,
                               For the Northern District of California




                                                                            13   which may give rise to loss or damage." Based on this sentence, the term "loss" clearly refers to the
                                                                            14   deletion of "data entry, communication and storage," including the "loss of data," and does not
                                                                            15   include any other type of loss, such as general economic damages or unjust enrichment.
                                                                            16             Section 8 continues and states that, "Neither party hereto undertakes any liability to the other
                                                                            17   for any such errors, omissions, delays, or losses." What the term "loss" refers to in this sentence is,
                                                                            18   again, the loss of "data entry, communication, and storage," including the "loss of data", explaining
                                                                            19   why the word "such" precedes the word "loss" in that sentence. Having defined the types of losses
                                                                            20   that commonly occur, the parties agreed that those losses would not create liability on the part of
                                                                            21   either of them.
                                                                            22
                                                                                           2
                                                                                           In order to establish a claim for breach of contract, an injured party must show: (1) the existence of an agreement
                                                                            23   between the parties; (2) performance by the party seeking relief under the agreement; (3) breach of such agreement by the
                                                                                 opposing party; and, (4) damage caused by such breach. McDonald v. John P. Scripps Newspaper, 210 Cal.App.3d 100, 104
                                                                            24   (1989).

                                                                            25
                                                                                           3
                                                                                            Moreover, as stated in the Court's November 8, 2005 order, Digital's claim for misappropriation of trade secrets
                                                                            26   does not arise independently of the License Agreement since it is undisputed that Google lawfully obtained Digital's
                                                                                 proprietary technology as a result of the License and, more importantly, that the License defines the permissible scope of
                                                                            27   Google's use of that technology.

                                                                            28                                                                4



                                                                                                                                Exhibit 89
                                                                                                                                 Page 4
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 5 of 8 Page 6 of 9
                                                                                                                                       PageID.10632



                                                                             1          The next-to-the-last line of Section 8 then concludes, in capital letters, "NEITHER PARTY
                                                                             2   UNDERTAKES OR ACCEPTS ANY LIABILITY WHATSOEVER TO THE OTHER FOR
                                                                             3   ERRORS, OMISSIONS, DELAYS, INTERRUPTIONS, OR LOSSES UNLESS CAUSED BY
                                                                             4   THEIR WILLFUL MISCONDUCT." The use of the term "loss" in this sentence, according to
                                                                             5   Digital, must carry a meaning similar to the first two uses of that term and naturally relates, it
                                                                             6   explains, to the same data losses as described in the preceding two sentences. As the Court stated in
                                                                             7   its prior order, however, this interpretation defies common sense since, if it were to be adopted, the
                                                                             8   sentence would be unnecessary for it would simply duplicate the third sentence in Section 8.
                                                                             9          As related to the term "loss," the only difference between the third sentence and the fifth
                                                                            10   sentence in Section 8, other than the addition of the "willful" phrase, is the use of the word "such" in
                                                                            11   the third sentence, a word which is conspicuously omitted in the fifth sentence. The fact that Digital,
United States District Court




                                                                            12   who drafted this paragraph, did not repeat the term "such losses" in the fifth sentence certainly
                               For the Northern District of California




                                                                            13   suggests a different loss than those previously discussed. Otherwise, the term "unless caused by their
                                                                            14   willful misconduct" could simply have been added to the third sentence and there would be no need
                                                                            15   to include it in the fifth sentence. Moreover, no parol evidence has been presented to explain the use
                                                                            16   of "such loss" in the third sentence as opposed to "loss" in the fifth sentence.
                                                                            17          For all of these reasons, the Court concludes that Section 8 of the parties' Agreement is
                                                                            18   unambiguous and is simply not reasonably susceptible to the meaning ascribed to it by Digital in this
                                                                            19   action. Barris Industries, Inc. v. Worldvision Enterprises, Inc., 875 F.2d 1446, 1450 (9th Cir. 1989)
                                                                            20   (extrinsic evidence admissible if relevant to prove a meaning to which the language of the contract is
                                                                            21   reasonably susceptible).
                                                                            22          B.      Validity of Section 8 as a Matter of Law
                                                                            23          Similarly, Section 8 is not invalid as a matter of law. Digital contends that, since Section 8
                                                                            24   does not expressly waive rights "under tort law" or "for any statutory claims," the attempted release
                                                                            25   clause is invalid under California law. Lund v. Bally's Aerobic Plus, Inc., 78 Cal.App.4th 733, 738
                                                                            26   (2000) (in order to be valid and enforceable, a written release clause which exculpates a tortfeasor
                                                                            27   from liability for future misconduct must be clear, unambiguous, and explicit in expressing the
                                                                            28                                                        5



                                                                                                                         Exhibit 89
                                                                                                                          Page 5
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 6 of 8 Page 7 of 9
                                                                                                                                       PageID.10633



                                                                             1   intent of the parties); Baker Pacific Corp. v. Suttles, 220 Cal.App.3d 1148, 1153 (1990) (same). This
                                                                             2   argument ignores the actual language of the Agreement, which unambiguously states that neither
                                                                             3   party accepts "any liability whatsoever" for "losses" unless those losses are caused by the willful
                                                                             4   misconduct of one of the parties. 4
                                                                             5             C.      Cal. Civ. Code § 1668 Does Not Apply to the Parties' Agreement
                                                                             6             Digital's argument that Cal. Civ. Code § 1668 invalidates Section 8 of the parties' Agreement
                                                                             7   similarly fails since California courts have held that Section 1668 applies only to contracts that
                                                                             8   involve the "public interest" and not to private contracts. See e.g., Tunkl v. Regents of University of
                                                                             9   California, 60 Cal.2d 92, 101 (1963) (holding that public policy does not oppose private, voluntary
                                                                            10   transactions); Allan v. Snow Summit, Inc., 51 Cal.App.4th 1358, 1373 (1996) (release and waiver
                                                                            11   found valid where ski school contract did not affect public interest); YMCA of Metro. Los Angeles
United States District Court




                                                                            12   v. Superior Court, 55 Cal.App.4th 22, 27 (1997) (finding release enforceable as not contrary to
                               For the Northern District of California




                                                                            13   public policy). Digital's contention that these cases involved only general negligence claims and,
                                                                            14   therefore, do not apply to the tort of trade secret misappropriation, is unpersuasive in the absence of
                                                                            15   any indication that the California state courts intended to limit their holdings to simple negligence
                                                                            16   claims.
                                                                            17                                                 IV. CONCLUSION
                                                                            18             For the reasons stated above, and based on the entire record submitted, as well as on the prior
                                                                            19   orders issued in this action, Google's motion for partial summary judgment regarding damages is
                                                                            20   granted. Digital is precluded from recovering for any unjust enrichment earned by Google as a
                                                                            21   result of its alleged trade secret misappropriation based on the limitation of liability provision set
                                                                            22   forth in Section 8 of the parties' License Agreement, which permits recovery for "losses" only in
                                                                            23   instances of willful misconduct. Digital, therefore, cannot satisfy the damages element essential for
                                                                            24
                                                                            25             4
                                                                                             Moreover, California statutory law provides that in cases of uncertainty, the language of the contract should be
                                                                                 interpreted most strongly against the party who caused the uncertainty to exist. Cal. Civ. Code § 1654. In this instance, the
                                                                            26   evidence submitted shows that Section 8 was drafted by Digital and was changed by Google only to the extent that the last
                                                                                 sentence in that Section, regarding the cap on liability, was made reciprocal. See e.g., Supplemental Declaration of David
                                                                            27   Kramer, Exhs. P, R; Declaration of David Kramer, Exh. C; Declaration of Robert Waddell, Exh. A.

                                                                            28                                                                6



                                                                                                                                Exhibit 89
                                                                                                                                 Page 6
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 7 of 8 Page 8 of 9
                                                                                                                                       PageID.10634



                                                                             1   its remaining trade secret claim. See e.g., Sargent Fletcher, Inc. v. Able Corp., 110 Cal.App.4th
                                                                             2   1658, 1666 (2003) (listing elements of California trade secret claim, including damages, and noting
                                                                             3   that plaintiff bears burden of proof on each element). As a result, judgment will be entered in favor
                                                                             4   of Google and against Digital in this action.5
                                                                             5   IT IS SO ORDERED.
                                                                             6   Dated: 1/24/06
                                                                                                                                      RICHARD SEEBORG
                                                                             7                                                        United States Magistrate Judge
                                                                             8
                                                                             9
                                                                            10
                                                                            11
United States District Court




                                                                            12
                               For the Northern District of California




                                                                            13
                                                                            14
                                                                            15
                                                                            16
                                                                            17
                                                                            18
                                                                            19
                                                                            20
                                                                            21
                                                                            22
                                                                            23
                                                                            24
                                                                            25
                                                                            26
                                                                                         5
                                                                                            Based on this conclusion, the Court does not address Google's alternative argument regarding a cap on damages,
                                                                            27   and Digital's pending discovery motion is denied as moot.

                                                                            28                                                              7



                                                                                                                              Exhibit 89
                                                                                                                               Page 7
                                                                                    Case 5:04-cv-01497-RS
                                                                         Case 3:16-cv-00463-BEN-JMA       Document
                                                                                                      Document 109-2403   Filed
                                                                                                                      Filed     01/24/06
                                                                                                                            02/13/18      Page 8 of 8 Page 9 of 9
                                                                                                                                       PageID.10635



                                                                             1   THIS IS TO CERTIFY THAT NOTICE OF THIS ORDER WAS ELECTRONICALLY
                                                                                 PROVIDED TO:
                                                                             2
                                                                                 Brian R. Blackman      bblackman@sheppardmullin.com
                                                                             3
                                                                                 P. Craig Cardon     ccardon@sheppardmullin.com, msariano@sheppardmullin.com
                                                                             4
                                                                                 Charles Tait Graves     tgraves@wsgr.com
                                                                             5
                                                                                 Stephen C. Holmes      sholmes@wsgr.com, pmarquez@wsgr.com
                                                                             6
                                                                                 David H. Kramer       dkramer@wsgr.com, dgrubbs@wsgr.com
                                                                             7
                                                                                 Michael S. Kwun       mkwun@google.com
                                                                             8
                                                                                 David L. Lansky     dlansky@wsgr.com
                                                                             9
                                                                                 Chan S. Park      cpark@wsgr.com
                                                                            10
                                                                                 Counsel are responsible for distributing copies of this document to co-counsel who have not
                                                                            11   registered for e-filing under the Court's CM/ECF program.
United States District Court




                                                                            12
                               For the Northern District of California




                                                                                 Dated: 1/24/06                                       Chambers of Judge Richard Seeborg
                                                                            13
                                                                            14                                                        By:        /s/ BAK
                                                                            15
                                                                            16
                                                                            17
                                                                            18
                                                                            19
                                                                            20
                                                                            21
                                                                            22
                                                                            23
                                                                            24
                                                                            25
                                                                            26
                                                                            27
                                                                            28



                                                                                                                      Exhibit 89
                                                                                                                       Page 8
